Edna G. Hollander, Petitioner, v. Commissioner of Internal Revenue, RespondentHollander v. CommissionerDocket No. 45129United States Tax Court22 T.C. 646; 1954 U.S. Tax Ct. LEXIS 166; June 25, 1954, Filed.  June 25, 1954, Filed *166 Decision will be entered for the respondent.  Deduction -- Medical Expense -- Sec. 23 (x), I. R. C. -- The cost of installing an inclinator is a capital expenditure and is not a medical expense within section 23 (x).  Robert F. Banks, Esq., and Thomas J. McManus, Esq., for the petitioner.Phillip O. North, Esq., for the respondent.  Murdock, Judge.  MURDOCK *646  The Commissioner determined a deficiency of $ 555 in income tax for 1948 and one of $ 583.75 for 1949.  The latter is not contested.  The only issue for decision is whether the cost of a trip to Atlantic City and the cost of an inclinator are medical expenses within the meaning of section 23 (x) of the Internal Revenue Code.FINDINGS OF FACT.The petitioner filed her individual income tax return for 1948 with the collector of internal revenue for the twenty-third District of Pennsylvania.The petitioner, who resides in Pittsburgh, suffered an attack of coronary thrombosis on November 23, 1947.  She was then 64.  Her doctor sent her to a hospital where she remained from November 24, *647  1947, until January 15, 1948, when she was removed to her home.  Her doctor attended her throughout her illness. *167  She had marked insomnia and anxiety neurosis and was depressed in the early part of 1948.  Her doctor advised her in February to go to Atlantic City to convalesce.  His purpose was to give her a change of surroundings at a suitable place to gain rest for her mind and body, to help overcome her nervous condition, and to discontinue the sedatives being taken for insomnia. This trip was a part of his treatment to restore her to health after the coronary thrombosis. She went to Atlantic City for two weeks in April 1948 at a cost of $ 377.10.The petitioner's house had no bedroom or bath on the first floor.  Her doctor did not want her to climb stairs and advised her to move to a smaller house or apartment which would have but one floor.  She refused to leave her home but was persuaded by her doctor to have an inclinator installed in her home to take her up and down the stairs. His purpose was to prevent her from doing any further damage to her heart.The inclinator was installed prior to June 1948 at a cost of $ 1,130.  It included an electric motor placed in the basement, an inclined track fastened to the stair treads, and a collapsible chair which was moved up and down the track *168  by a cable from the motor.  Its life could be almost indefinite under good care and conditions.  It would have a salvage value of several hundred dollars if removed from the house.The Commissioner, in determining the deficiency, held:(c) It is determined that the deduction of $ 862.95 as medical and dental expense is unallowable, inasmuch as the total of such allowable expense, $ 1,051.68 as explained below, is less than five percent of your adjusted gross income, $ 1,699.20.Your total adjusted gross income for the year 1948 is $ 33,984.03, five percent of which amount is $ 1,699.20; the total of reported medical and dental expenses, which expenses are detailed in the list reported, is $ 2,551.72, of which total the cost of the trip to Atlantic City, $ 370.54, and the cost of the Inclinator ordered by doctor, $ 1,130.00, are not allowable deductions within the purview of Section 23 (x) of the Internal Revenue Code; accordingly, the remainder, $ 1,051.68, of such expenses, being less than the amount of $ 1,699.20 shown above, does not constitute an allowable deduction in any part thereof.The stipulation of facts is incorporated herein by this reference.OPINION.The amounts are *169  not in dispute.  The Commissioner recognized medical expenses of $ 1,051.68 and the cost of the trip to Atlantic City was also a medical expense. However, the total of those amounts is less than 5 per cent of the petitioner's adjusted gross income for 1948 and she is not entitled to any deduction under section 23 (x) unless an additional medical expense resulted from the installation of the inclinator.*648  The petitioner argues that the inclinator added nothing to the market value of the house and was not a capital item within section 24 (a) (2) of the Code.  That section is not an all inclusive definition of capital expenditures. It would not cover a pleasure yacht or automobile, yet both are capital in nature.  An expenditure is not an expense merely because it does not add to the market value of real property.  This inclinator, concededly, was not permanently affixed to and did not become a part of the realty.  The cost of capital items of a personal nature is not an expense even though it is not recoverable through depreciation. The inclinator had a useful life and period of benefit to the petitioner extending far beyond 1948.  Its cost was a capital expenditure and not*170  a medical expense within the meaning and purpose of section 23 (x) even though the Commissioner may allow deductions for the cost of some lesser articles having an extended life.  The case is not distinguishable in principle from Estate of C. L. Hayne, 22 T.C. 113"&gt;22 T. C. 113, holding that the cost of installing an elevator in a residence was a capital expenditure and not a medical expense deductible under section 23 (x).  Cf.  John L. Seymour, 14 T.C. 1111"&gt;14 T. C. 1111.It is conceded that no amount representing depreciation on the inclinator would be deductible as a medical expense under section 23 (x).Decision will be entered for the respondent.  